873 F.2d 1441Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Edward WEST, Plaintiff-Appellant,v.CHESTERFIELD COUNTY JAIL, Nurses Staff, Defendants-Appellees.
    No. 88-7843.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 28, 1989.Decided April 21, 1989.
    
      Edward West, appellant pro se.
      Before MURNAGHAN, SPROUSE, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Edward West appeals the district court's dismissal of this 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court properly complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      DISMISSED.
    
    